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                                                                                                                       5 ADMITTED IN MO ONLY

                                                                   June 22, 2020
  Honorable Terrence G. Berg                                                                                     Via Electronic Filing
  Theodore Levin U.S. Courthouse
  231 W. Lafayette Blvd., Room 253
  Detroit, MI 48226

  Re:         Desheila Howlett v. City of Warren et al.
              Eastern District of Michigan Case No. 17-11260-TGB-RSW
              Supplemental Authority

  Dear Judge Berg:

         I provide with this letter a copy of the June 9, 2020 decision of the United States Court
  of Appeals for the Fifth Circuit in West v. City of Houston, Texas, ___ F.3d ___, 2020 WL
  3056446 (5th Cir., June 9, 2020), which has been designated for publication. (The Fifth Circuit
  follows the Sixth Circuit.) I provide this as supplemental authority for Defendants’ pending
  Motion in Limine #5 (Doc. No. 107), particularly on the issue of Title VII hostile work
  environment claims.

                                                   Very truly yours,

                                                   CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.



                           Ronald G. Acho
  RGA/jac
  Enc.
  cc:  Leonard Mungo, Esq.
       Ethan Vinson, Esq.
       James R. Acho, Esq.


                                     C LINTON T OWNS HIP, M I ▪ GR AND R AP IDS , M I ▪ LIVONIA, M I ▪ TR AVER SE C ITY, M I
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
  DESHEILA C. HOWLETT,
                     Plaintiff,                                Case No. 17-11260
  v                                                            Hon. Terrence G. Berg
                                                               Mag. R. Steven Whalen
  CITY OF WARREN; LT. LAWRENCE
  GARDNER; SHAWN JOHNSON; and
  ANWAR KHAN,
                     Defendants.
  THE MUNGO LAW FIRM, PLC                         CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.
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                                   CERTIFICATE OF SERVICE
               I hereby certify that on June 9, 2020, I electronically filed the foregoing paper

  with the Clerk of the Court using the ECF system which will send notification of

  such filing to the attorneys of record via the Court’ s e-filing system.

                                          /s/ Ronald G. Acho
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  01136577-1
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West v. City of Houston, Texas, --- F.3d ---- (2020)




                                                            Affirmed.
           2020 WL 3056446
  Only the Westlaw citation is currently
               available.
  United States Court of Appeals, Fifth
                Circuit.                                     West Headnotes (15)

      Carla WEST, Plaintiff - Appellant
                    v.                                       [1]   Federal Courts Summary
       CITY OF HOUSTON, TEXAS,                                     judgment
            Defendant - Appellee
                                                                   The Court of Appeals reviews grants
                  No. 19-20294                                     of summary judgment de novo. Fed.
                        |                                          R. Civ. P. 56(a).
               FILED June 9, 2020



Synopsis
Background: Female, African-American
firefighter brought action against city                      [2]   Federal Civil Procedure Weight
employer, alleging that she was subjected to                       and sufficiency
a     hostile  work      environment     and
discriminated against because of her race                          While a court deciding a motion for
and sex. The United States District Court for                      summary judgment reviews the
the Southern District of Texas, Vanessa D.                         evidence in the light most favorable
Gilmore, J., granted summary judgment in                           to the nonmoving party, conclusory
favor of employer. Firefighter appealed.                           allegations and unsubstantiated
                                                                   assertions may not be relied on as
                                                                   evidence by the nonmoving party.
Holdings: The Court of Appeals held that:                          Fed. R. Civ. P. 56(a).

[1]
    male, Caucasian firefighters were not
similarly situated to plaintiff, as required to
establish prima facie Title VII sex and race
discrimination claims, and
[2]
                                                             [3]   Civil Rights Practices prohibited
   alleged harassment was not sufficiently                         or required in general; elements
severe or pervasive to support firefighter’s
Title VII hostile work environment claim.                          To demonstrate a prima facie case of
                                                                   employment discrimination under
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             Title VII, an employee must show                        female,             African-American
             that she (1) belongs to a protected                     firefighter, and thus, could not be
             class; (2) was qualified for the                        used as valid comparators, as
             position; (3) experienced an adverse                    required to establish plaintiff’s prima
             employment action; and (4) was                          facie Title VII sex and race
             similarly situated to other employees                   discrimination claims, alleging that
             who were not members of her                             she was treated less favorably than
             protected class and who were treated                    those male, Caucasian firefighters
             more favorably. Civil Rights Act of                     when supervisors assigned overtime
             1964 § 703, 42 U.S.C.A. §                               hours; the purported comparators did
             2000e-2(a).                                             not have the same job or
                                                                     responsibilities as plaintiff, and did
                                                                     not have the same supervisor as
                                                                     plaintiff. Civil Rights Act of 1964 §
                                                                     703, 42 U.S.C.A. § 2000e-2(a).


 [4]         Civil Rights Disparate treatment

             Employees are “similarly situated”
             to a plaintiff-employee, as required
             to establish a prima facie Title VII              [6]   Civil Rights Disparate treatment
             claim of employment discrimination
             when they (1) hold the same job or                      Employees         with       different
             responsibilities, (2) shared the same                   supervisors generally will not be
             supervisor or have their employment                     deemed similarly situated, for
             status determined by the same                           purpose of establishing a prima facie
             person, and (3) have essentially                        Title VII employment discrimination
             comparable violation histories. Civil                   claim. Civil Rights Act of 1964 §
             Rights Act of 1964 § 703, 42                            703, 42 U.S.C.A. § 2000e-2(a).
             U.S.C.A. § 2000e-2(a).




                                                               [7]   Civil Rights Hostile environment;
 [5]         Civil Rights Disparate treatment                         severity, pervasiveness, and
             Civil Rights Disparate treatment                        frequency

             Male, Caucasian firefighters were                       Title VII makes it unlawful for
             not “similarly situated” to plaintiff, a                employers to require employees to

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             work in a discriminatorily hostile or            [9]   Civil Rights Hostile environment;
             abusive environment. Civil Rights                       severity, pervasiveness, and
             Act of 1964 §§ 703, 706, 42                            frequency
             U.S.C.A.        §§       2000e-2(a),
             2000e-5(e)(1).                                         To affect a term, condition, or
                                                                    privilege of employment, as required
                                                                    to support a Title VII hostile work
                                                                    environment claim, the harassment
                                                                    must be sufficiently severe or
                                                                    pervasive to alter the conditions of
                                                                    the plaintiff’s employment and
 [8]         Civil Rights Hostile environment;                      create     an    abusive    working
              severity, pervasiveness, and                          environment. Civil Rights Act of
             frequency                                              1964 §§ 703, 706, 42 U.S.C.A. §§
             Civil Rights Hostile environment;                      2000e-2(a), 2000e-5(e)(1).
              severity, pervasiveness, and
             frequency

             To survive summary judgment on a
             Title VII hostile work environment
             claim based on race or sex
             discrimination, a plaintiff must show            [10] Civil Rights Hostile environment;
             that (1) she is a member of a                          severity, pervasiveness, and
             protected class; (2) she suffered                     frequency
             unwelcomed harassment; (3) the
             harassment was based on her                            To support a Title VII hostile work
             membership in a protected class; (4)                   environment claim, the alleged
             the harassment affected a term,                        harassing    conduct     must     be
             condition,     or     privilege     of                 objectively and subjectively hostile
             employment; and (5) the employer                       or abusive. Civil Rights Act of 1964
             knew or should have known about                        §§ 703, 706, 42 U.S.C.A. §§
             the harassment and failed to take                      2000e-2(a), 2000e-5(e)(1).
             prompt remedial action. Civil Rights
             Act of 1964 §§ 703, 706, 42
             U.S.C.A.        §§         2000e-2(a),
             2000e-5(e)(1).


                                                              [11] Civil Rights Hostile environment;
                                                                    severity, pervasiveness, and
                                                                   frequency


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             The totality of the employment                          severity, pervasiveness, and
             circumstances determines whether                       frequency
             the workplace environment is                           Civil Rights Hostile environment;
             objectively hostile, as required to                     severity, pervasiveness, and
             support a Title VII hostile work                       frequency
             environment claim. Civil Rights Act
             of 1964 §§ 703, 706, 42 U.S.C.A. §§                    Harassment           of       female,
             2000e-2(a), 2000e-5(e)(1).                             African-American firefighter by her
                                                                    male co-workers, which allegedly
                                                                    included male co-workers’ sleeping
                                                                    in their underwear, grabbing their
                                                                    private parts, passing gas, burping,
                                                                    making        racially     derogatory
                                                                    comments, and leaving adult
 [12] Civil Rights Hostile environment;                             magazines in common areas at the
       severity, pervasiveness, and                                 fire station, was not sufficiently
      frequency                                                     severe or pervasive to support
                                                                    firefighter’s Title VII hostile work
             Although no single factor is                           environment claim; most of the
             determinative, in evaluating whether                   alleged        conduct       occurred
             a    workplace      environment     is                 infrequently, no one physically
             objectively hostile or abusive, as                     threatened firefighter, and there was
             required to support a Title VII                        no showing that the harassment
             hostile work environment claim,                        interfered with firefighter’s work
             pertinent considerations are (1) the                   performance or ability to succeed in
             frequency of the discriminatory                        her position. Civil Rights Act of
             conduct; (2) its severity; (3) whether                 1964 §§ 703, 706, 42 U.S.C.A. §§
             it is physically threatening or                        2000e-2(a), 2000e-5(e)(1).
             humiliating, or a mere offensive
             utterance; and (4) whether it
             unreasonably       interferes     with
             employee’s work performance. Civil
             Rights Act of 1964 §§ 703, 706, 42
             U.S.C.A.         §§        2000e-2(a),
             2000e-5(e)(1).                                   [14] Civil Rights Hostile environment;
                                                                    severity, pervasiveness, and
                                                                   frequency

                                                                    An isolated incident of harassment
                                                                    will generally be insufficient to
                                                                    support a Title VII hostile work
 [13] Civil Rights Hostile environment;                             environment claim. Civil Rights Act
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             of 1964 §§ 703, 706, 42 U.S.C.A. §§            PER CURIAM:
             2000e-2(a), 2000e-5(e)(1).

                                                            *1 Carla West appeals an adverse summary
                                                            judgment entered on her claims against her
                                                            employer, the City of Houston, for
                                                            discrimination and creating a hostile work
                                                            environment in violation of Title VII of the
 [15] Civil Rights Practices prohibited                     Civil Rights Act of 1964. We affirm.
      or required in general; elements

             Title VII does not impose a general
             civility code on employers. Civil
             Rights Act of 1964 §§ 703, 706, 42
             U.S.C.A.       §§       2000e-2(a),
             2000e-5(e)(1).                                                        I.

                                                            West, an African American woman, began
                                                            her tenure with the Houston Fire Department
                                                            in 1994 when she enrolled in Houston’s Fire
                                                            Academy. She failed the Academy’s
                                                            graduation test, which she now alleges was
                                                            administered in a discriminatory manner,
Appeal from the United States District Court                and was fired. The Department eventually
for the Southern District of Texas, Vanessa                 rehired West. And two years after failing the
D. Gilmore, U.S. District Judge                             Academy’s graduation exam, she passed and
                                                            joined the Department as a firefighter. While
Attorneys and Law Firms                                     working for the Department, West trained to
                                                            become a paramedic. After completing her
Sufi Nasim Ahmad, Attorney, Cline Ahmad,                    training, the Department promoted West to
The Woodlands, TX, for Plaintiff-Appellant.                 the role of engineer/operator paramedic at
                                                            Station 9.
Robert William Higgason, Dennis J.
Jackson,   City   of   Houston, Legal                       At Station 9, West took issue with her
Department,     Houston,    TX,   for                       fellow firefighters’ behavior. Her colleagues
Defendant-Appellee.                                         would tell jokes to one another that she
                                                            found inappropriate, including jokes about
Before SMITH, HO, and OLDHAM, Circuit
                                                            “men’s testicles.” They passed gas, burped,
Judges.
                                                            and occasionally grabbed their private parts
Opinion                                                     at the dinner table. They brought adult
                                                            magazines to the station and left them in
                                                            common spaces. They also posted

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inappropriate pictures on the station walls,                work environment and discriminated against
including    some     racially   derogatory                 due to her race and sex. The EEOC issued a
photographs. West also twice complained                     right-to-sue letter on those charges, and
about seeing her coworkers sleeping at the                  West filed this action in federal court. The
station in their underwear. And in one                      district court, after receiving a report and
instance, one of West’s subordinates threw a                recommendation from the magistrate judge,
medical bag at her. In response to these                    adopted the report and granted summary
behaviors, West isolated herself from her                   judgment to the city.
coworkers.

In addition to finding fault in her coworkers
and subordinates, West alleged that her
station superiors denied her overtime
opportunities because of her race and sex.
                                                                                   II.
Two types of overtime decisions are made at
                                                            *2 [1] [2]This court reviews grants of
the station level: holdover and ride-up.
                                                            summary judgment de novo. Petzold v.
Holdover overtime occurs when a captain
                                                            Rostollan, 946 F.3d 242, 247 (5th Cir.
“holds over” an employee from the outgoing
                                                            2019). Summary judgment is appropriate “if
shift to fill an unanticipated vacancy on the
                                                            the movant shows that there is no genuine
incoming shift. This type of overtime is not
                                                            dispute as to any material fact and the
meant to last an entire shift. Instead, it
                                                            movant is entitled to judgment as a matter of
merely serves as a stopgap to fill an
                                                            law.” FED. R. CIV. P. 56(a). While we
unexpectedly vacant position until a
                                                            review the evidence in the light most
volunteer overtime employee assigned by
                                                            favorable to the nonmoving party,
the Department can arrive. The second type
                                                            “conclusional          allegations       and
of station-level overtime is ride-up overtime,
                                                            unsubstantiated assertions may not be relied
which occurs when an individual ranked
                                                            on as evidence by the nonmoving party.”
directly beneath an absent employee fills
                                                            Carnaby v. City of Houston, 636 F.3d 183,
that vacant position.
                                                            187 (5th Cir. 2011).
West claims that she rarely received those
overtime opportunities despite asking for
them. Instead, she insists that her station
supervisors would select her white, male
colleagues for overtime.
                                                                                   A.
West transferred from Station 9 in 2010, but
                                                            [3]
prior to her transfer, she filed a                            Title VII protects employees against race
discrimination charge with the Equal                        and sex discrimination in the workplace. 42
Employment Opportunity Commission                           U.S.C. § 2000e-2(a). To demonstrate a
alleging that she was subjected to a hostile                prima    facie    case    of   employment
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discrimination, West must show that she (1)                 In fact, it shows that West received more
belongs to “a protected class”; (2) “was                    favorable treatment than Allen and
qualified for the position”; (3) experienced                Chandler. During the period in question,
“an adverse employment action”; and (4)                     West’s supervisor held her over three times
was “similarly situated” to other employees                 for a total of 3.25 hours. Allen and Chandler
who were not members of her protected                       were both held over only once, and worked
class and who “were treated more                            1.0 and 1.5 overtime hours, respectively.
favorably.” Bryan v. McKinsey & Co., Inc.,
375 F.3d 358, 360 (5th Cir. 2004).                          Then there is Haynes. Haynes and West
                                                            received an equal number of holdover
[4]
  As the district court found, West cannot                  opportunities—three. But Haynes received
establish a genuine dispute of material fact                16.75 hours of holdover overtime, while
regarding the fourth prong. We have defined                 West received only 3.25 hours. West insists
“similarly situated” narrowly, requiring the                that the difference in hours shows that she
employees’ situations to be “nearly                         received less favorable treatment. But that
identical.” Wheeler v. BL Dev. Corp., 415                   misconstrues the nature of holdover
F.3d 399, 406 (5th Cir. 2005) (quoting                      overtime. Station-level supervisors use
Mayberry v. Vought Aircraft Co., 55 F.3d                    holdover overtime to fill unexpected,
1086, 1090 (5th Cir. 1995)). Employees are                  last-minute absences until a replacement
similarly situated when they (1) “held the                  arrives. They have no discretion to decide
same job or responsibilities,” (2) “shared the              the length of the overtime assignment.
same supervisor or had their employment                     Rather, the hours depend entirely on when
status determined by the same person,” and                  the volunteer replacement arrives. Because
(3) “have essentially comparable violation                  station-level supervisors cannot control the
histories.” Lee v. Kan. City S. Ry. Co., 574                number of hours worked on a holdover
F.3d 253, 260 (5th Cir. 2009) (footnotes                    assignment, West cannot use a discrepancy
omitted).                                                   in such hours to demonstrate that she
                                                            received less favorable treatment than
[5]
  West identifies three individuals as                      Haynes.
potential comparators: Robert Allen, Robert
Haynes, and Michael Chandler. Each is a                     Regarding ride-up overtime, West’s
white male working the same shift and at the                allegations fail because neither Allen,
same station as she did between 2007 and                    Haynes, nor Chandler (1) “held the same job
2010. West argues that she was treated less                 or responsibilities” or (2) “shared the same
favorably than those men when station-level                 supervisor” as West. Lee, 574 F.3d at 260
supervisors assigned holdover and ride-up                   (footnotes omitted).
overtime.
                                                            *3 Allen, Haynes, and Chandler worked as
First, regarding her holdover overtime,                     fire suppression engineer/operators. They
West’s proffered evidence fails to show that                were responsible for driving the pumper
her station-level supervisors treated her less              truck or ambulance at Station 9. As an
favorably than her white, male comparators.                 engineer/operator paramedic, West drove
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the “squad unit”—a smaller emergency                        L.Ed.2d 295 (1993)). “A hostile work
medical vehicle. And as a paramedic, West                   environment claim is composed of a series
had to possess certain medical knowledge                    of separate acts that collectively constitute
that fire suppression engineer/operators did                one ‘unlawful employment practice.’ ” Nat’l
not. Those differences make fire suppression                R.R. Passenger Corp. v. Morgan, 536 U.S.
engineer/operators and engineer/operator                    101, 117, 122 S.Ct. 2061, 153 L.Ed.2d 106
paramedics too different to be valid                        (2002) (quoting 42 U.S.C. § 2000e-5(e)(1)).
comparators. See Morris v. Town of                          To survive summary judgment on a hostile
Independence, 827 F.3d 396, 402 (5th Cir.                   work environment claim based on race or
2016) (noting that a difference in “job                     sex discrimination, a plaintiff must show
functions” was a factor in determining that                 that (1) she is a member of a protected class;
plaintiff was not similarly situated to her                 (2) she suffered unwelcomed harassment;
proffered comparator).                                      (3) the harassment was based on her
                                                            membership in a protected class; (4) the
[6]
  Furthermore, West and her comparators                     harassment “affected a term, condition, or
had different supervisors deciding whether                  privilege of employment”; and (5) “the
they would receive ride-up overtime work.                   employer knew or should have known”
The proffered comparators’ direct supervisor                about the harassment and “failed to take
was the shift captain. West’s direct                        prompt remedial action.” Ramsey v.
supervisor was the EMS captain.                             Henderson, 286 F.3d 264, 268 (5th Cir.
“Employees with different supervisors ...                   2002).
generally will not be deemed similarly
situated.” Lee, 574 F.3d at 259.                            We agree with the district court that West
                                                            failed to show a genuine dispute of material
Accordingly, West failed to raise a genuine                 fact regarding the fourth prong of her hostile
dispute of material fact regarding the fourth               work      environment      claim—that     the
element of her discrimination claim.                        harassment affected a term, condition, or
                                                            privilege of employment.1

                                                                        “To affect a term, condition, or
                                                            [9] [10] [11] [12]

                                                            privilege of employment, the harassment
                                                            must be sufficiently severe or pervasive to
                                                            alter the conditions of the victim’s
                           B.                               employment and create an abusive working
[7] [8]                                                     environment.” Aryain v. Wal-Mart Stores
      Title VII also makes it unlawful for
                                                            Tex. LP, 534 F.3d 473, 479 (5th Cir. 2008)
employers to require “people to work in a
                                                            (cleaned up). The alleged conduct must be
discriminatorily    hostile  or    abusive
                                                            objectively and subjectively hostile or
environment.” Gardner v. CLC of
                                                            abusive. Harris, 510 U.S. at 21–22, 114
Pascagoula, L.L.C., 915 F.3d 320, 325 (5th
                                                            S.Ct. 367. The totality of the employment
Cir. 2019) (quoting Harris v. Forklift Sys.,
                                                            circumstances determines whether an
Inc., 510 U.S. 17, 21, 114 S.Ct. 367, 126
                                                            environment is objectively hostile. Id. at 23,
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114 S.Ct. 367. Although no single factor is                 1996) (finding harassing conduct was
determinative, pertinent considerations are                 pervasive when it was described as
(1) “the frequency of the discriminatory                    occurring “two or three times a week”).
conduct”; (2) “its severity”; (3) “whether it
is physically threatening or humiliating, or a              West also fails to meet the second and third
mere offensive utterance”; and (4) “whether                 factors: that the alleged actions were severe,
it unreasonably interferes with an                          physically threatening, or humiliating. See
employee’s work performance.” Id.                           Harris, 510 U.S. at 23, 114 S.Ct. 367. Those
                                                            factors “are sufficiently demanding to
*4 [13]First, West cannot show that her                     ensure that Title VII does not become a
harassment was frequent or pervasive. She                   ‘general civility code.’ ” Faragher v. City of
admits that a number of the complained-of                   Boca Raton, 524 U.S. 775, 788, 118 S.Ct.
actions were isolated or infrequent—such as                 2275, 141 L.Ed.2d 662 (1998) (quoting
when a subordinate threw a bag at her                       Oncale v. Sundowner Offshore Servs., Inc.,
(once), when she discovered her fellow                      523 U.S. 75, 80, 118 S.Ct. 998, 140 L.Ed.2d
firefighters asleep in their underwear                      201 (1998)). West seeks to impose Title VII
(twice), and when she saw her coworkers                     liability on her employer because her
grab themselves at the dinner table                         coworkers passed gas at the dinner table;
(occasionally).                                             infrequently slept in their underwear at the
                                                            station; made the occasional racially
Regarding the other complained-of conduct,                  insensitive joke; and brought adult
West provides no evidence of their                          magazines to the station. That is not severe
frequency. The best she can do is claim that                or humiliating under the governing
she meets this factor because her husband                   standards. See Faragher, 524 U.S. at 788,
said she often complained to him about the                  118 S.Ct. 2275 (“Properly applied, [the
presence of adult magazines at work. But                    standards for judging hostility] will filter out
frequently complaining about something                      complaints      attacking     ‘the    ordinary
does not mean it happened frequently.                       tribulations of the workplace, such as the
Without more, West cannot show the                          sporadic use of abusive language,
harassment was pervasive. Compare                           gender-related jokes, and occasional
Hockman v. Westward Commc’ns, LLC, 407                      teasing.’ ”) (quoting B. LINDEMANN & D.
F.3d 317, 328 (5th Cir. 2004) (finding that                 KADUE, SEXUAL HARASSMENT IN
conduct was not pervasive when the plaintiff                EMPLOYMENT LAW 175 (1992));
“did not even estimate how many times [the]                 Shepherd v. Comptroller of Pub. Accounts of
conduct occurred”), with Lauderdale v. Tex.                 the State of Tex., 168 F.3d 871, 874 (5th Cir.
Dept. of Criminal Justice, Institutional Div.,              1999) (finding harassment was not severe
512 F.3d 157, 164 (5th Cir. 2007) (finding                  when a male coworker made comments to a
harassment pervasive when plaintiff                         female plaintiff about her private parts and
received unwanted phone calls “ten to                       intermittently rubbed plaintiff’s arm).
fifteen times a night for almost four
                                                            [14]
months”), and Farpella-Crosby v. Horizon                      Nor did anyone physically threaten West.
Health Care, 97 F.3d 803, 806 (5th Cir.                     The closest incident was when a subordinate
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threw a bag at her. But that is the type of                            employers. Faragher, 524 U.S. at 788, 118
“isolated incident[ ]” the Supreme Court has                           S.Ct. 2275 (quoting Oncale, 523 U.S. at 80,
cautioned against finding actionable under                             118 S.Ct. 998). The district court did not err
Title VII. Faragher, 524 U.S. at 788, 118                              in granting summary judgment on West’s
S.Ct. 2275.                                                            hostile work environment claim.

Finally, West has not shown that the
harassment interfered with her work
performance. She pointed to no evidence
that her coworkers’ actions “destroy[ed]”
her “opportunity to succeed in the
workplace.” Weller v. Citation Oil & Gas                                                             III.
Corp., 84 F.3d 191, 194 (5th Cir. 1996). In
                                                                       For the reasons discussed above, we affirm
fact, she did not even allege that her fellow
                                                                       the district court’s grant of summary
firefighters’     actions      “unreasonably
                                                                       judgment.
interfere[d]” with her work performance.
Harris, 510 U.S. at 23, 114 S.Ct. 367.
                                                                       All Citations
*5 [15]In short, the most West has shown is
that her colleagues were sometimes                                     --- F.3d ----, 2020 WL 3056446
offensive and boorish. But Title VII does not
impose a “general civility code” on

Footnotes

1        West asks this court to consider as actionable the Department’s administration of the 1994 graduation exam, which is
         time-barred under 42 U.S.C. § 2000e-5(e)(1), as part of her hostile work environment claim through the continuing violation
         doctrine. However, West makes no effort to demonstrate how the Department’s 1994 actions and the actions of her coworkers
         thirteen years later were related and continuous, as required under the continuing violation doctrine. See Stewart v. Miss.
         Transp. Comm’n, 586 F.3d 321, 328 (5th Cir. 2009). Therefore, although we consider it as “relevant background conduct,” the
         1994 graduation exam is not actionable. Ramsey, 286 F.3d at 269.




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